          Case 2:11-cr-00107-WFN             ECF No. 1378                     filed 01/29/13              PageID.6365 Page 1 of 1

%PS8
(12/04)


                                  United States District Court
                                                                        for

                                               Eastern District of Washington



 U.S.A. vs.                       Cody Lee Poole                                        Docket No.               2:11CR00107-012




                                   Petition for Action on Conditions of Pretrial Release

        COMES NOW, Anne Sauther, pretrial services officer, presenting an official report upon the conduct of defendant,
Cody Lee Poole, who was placed under pretrial release supervision by the HonorableCynthia Imbrogno sitting in the Court
at Spokane, WA, on the 8th day of August 2011, under the following conditions:

Condition #5: Defendant shall be restricted to his residence at all times except for: attorney visits; court appearances; case-
related matters; court ordered obligations; or other activities as pre-approved by the U.S. Pretrial Services Office or
supervising officer, as well as religious services and medical treatment.

           RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                      (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: Cody Poole is considered to be in violation of his conditions of pretrial release by leaving his residence on
January 23, 2013, to go to the Econo Lodge Inn in Spokane, Washington, to meet Alicia Durbin, the mother to his daughter,
without permission from the U.S. Pretrial Services Office.

                                 PRAYING THAT THE COURT WILL ORDER A SUMMONS


                                                                                           I declare under penalty of perjury that
      RECEIVED                                                                             the foregoing is true and correct.
 D.S DISTRICT COURT
                                                                                           Executed on:        01/28/2013
          JAN 2 8 2013 «+ **%
                                                                                  by       s/Anne L. Sauther
UNITED STATES MAGISTRATE JUDGE
     SPOKANE WASHINGTON                                                                    Anne L. Sauther
                                                                                           U.S. Probation Officer




 THE COURT ORDERS


            No Action

   vt The Issuance of a Summons
  j |
            The Issuance of a Warrant


  [ ]       Other
                                                                                                    L


                                                                                              Signature of Judicial Officer


                                                                                             —^—•              H                     * • /yy*
                                                                                               Date
